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             GEICO, et al. v. Bhargav Patel, M.D., et al.                              02835
                                                                          23 CV - ________ ( _____
Case Name: ________________________________________________ Case Number: ____                 KAM ) (PK)



  PROPOSED DISCOVERY PLAN/SCHEDULING ORDER
                                                                       DONE      NOT
                                                                              APPLICABLE        DATE

 A. ACTIONS REQUIRED BEFORE THE INITIAL CONFERENCE
    1. Rule 26(f) Conference held                                       X                   7/25/2023


    2. Rule 26(a)(1) disclosures exchanged                              X                   8/1/2023


    3. Requested:

           a. Medical records authorization                                      X

           b. Section 160.50 releases for arrest records                        X


           c. Identification of John Doe/Jane Doe defendants                    X


    4. Procedures for producing Electronically Stored                  X
       Information (ESI) discussed

    5. Confidentiality Order to be submitted for court approval                                8/1/2023
        (see Standing Confidentiality Order on the Chambers website)

 B. SETTLEMENT PLAN
    1. Plaintiff to make settlement demand                                                  8/14/2023


    2. Defendant to make settlement offer                                                  9/1/2023


    3. Referral to EDNY mediation program pursuant to Local
                                                                                X
       Rule 83.8? (If yes, enter date for mediation to be
       completed)
                                                                                                          ex parte settlement
    4. Settlement Conference (proposed date)                                               12/6/2023      statements due
                                                                                                          11/28/2023

 C. PROPOSED DEADLINES
    1. Motion to join new parties or amend pleadings                                       2/2/2024


    2. Initial documents requests and interrogatories                                      8/18/2023


    3. All fact discovery to be completed (including disclosure of                         5/31/2024
       medical records)

    4. Joint status report certifying close of fact discovery and                          6/14/2024
       indicating whether expert discovery is needed



                                                                                       Rev. 11-03-20
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    5. Expert discovery (only if needed)                                        Check here if not applicable 

   Plaintiff expert proposed field(s) of expertise:    Medical, Billing, Accounting, and Handwriting


   Defendant expert proposed field(s) of expertise:    Medical, Billing


                                                                          DONE          NOT
                                                                                     APPLICABLE        DATE
            a. Affirmative expert reports due                                                     7/12/2024


            b. Rebuttal expert reports due                                                        8/16/2024


            c. Depositions of experts to be completed                                             9/27/2024


    6. Completion of ALL DISCOVERY (if different from C.3)                                        10/11/2024


    7. Joint status report certifying close of ALL DISCOVERY                                      10/18/2024
       and indicating whether dispositive motion is anticipated

    8. If any party seeks a dispositive motion, date to
       (a) file request for pre-motion conference (if required), or                                10/25/2024
       (b) file briefing schedule for the motion

    9. Proposed Joint Pre-Trial Order due (if no dispositive                                      11/1/2024
       motion filed)

 D. CONSENT TO MAGISTRATE JUDGE JURISDICTION
    1. All parties consent to Magistrate Judge jurisdiction for dispositive motion?                     Yes
                                                                                                       x No
                                                                                                       

    2. All parties consent to Magistrate Judge jurisdiction for trial?                                  Yes
                                                                                                       x No
                                                                                                       

 E. COLLECTIVE ACTION AND CLASS ACTION MOTIONS ONLY
    1. Motion for collective action certification in FLSA cases
         a. Response due
         b. Reply due
    2.   Motion for Rule 23 class certification
        a. Response due
        b. Reply due
This Scheduling Order may be altered or amended only upon a showing of good cause based on
circumstances not foreseeable as of the date of this order.

SO ORDERED:
                                                               August 1, 2023
Peggy Kuo
___________________________                                  _______________________
PEGGY KUO                                                    Date
United States Magistrate Judge
                                                                                              Rev. 11-03-20
